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                         EXHIBIT E
Case 2:18-cv-03893-RGK-AGR Document 57-6 Filed 03/08/19 Page 2 of 8 Page ID #:374



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 8
   Attorneys for Defendant 7-Eleven, Inc.
 9
10                                 UNITED STATES DISTRICT COURT
11                                CENTRAL DISTRICT OF CALIFORNIA
12
13 EDWARDO MUNOZ, individually and on                     Case No. 2:18-cv-03893 RGK (AGR)
   behalf of all others similarly situated,
14                                                        DEFENDANT 7-ELEVEN, INC.’S
15               Plaintiff,                               PRIVILEGE LOG AS OF JANUARY
                                                          29, 2019
16                     vs.
17 7-ELEVEN, INC., a Texas corporation,
18                     Defendant.
19
20                                                        Complaint Filed:       May 9, 2018
                                                          First Am. Comp. Filed: July 9, 2018
21                                                        Trial Date:            July 2, 2019
22
23
24
25
26
27
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     SEV05-13:2401007_1:1-29-19                         -1-
                         DEFENDANT 7-ELEVEN, INC.’S PRIVILEGE LOG AS OF JANUARY 29, 2019
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 1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2            Defendant 7-Eleven, Inc. hereby provides the below privilege log noting the
 3 documents that it is withholding solely on the grounds of there being an applicable
 4 privilege save for communications that have taken place between counsel of record
 5 following the initiation of this lawsuit. These latter communications have not been
 6 included on the log as such communications are clearly privileged and it would be
 7 unduly burdensome and oppressive to require all such communications be reflected in a
 8 privilege log.
 9            This log will be updated to the extent additional documents are withheld on the
10 grounds of privilege.
11
12    Date of                     Description of Document                      Privilege Claimed
13    Document
14    April and May, Email chain being produced but with Attorney-client privilege
15    2013                        redactions of communications in email
16                                chain between outside counsel and 7-
17                                Eleven employees, including its in-house
18                                counsel. As a review of the email chain
19                                produced    shows,    the   non-privileged
20                                portion of this email chain is the initial
21                                email.
22
23    September                   Email chain between 7-Eleven employees Attorney-client privilege
24    2015 email                  and inhouse counsel. All correspondences
25    correspondence in               chain   include   7-Eleven   in-house
26                                counsel.
27
28

     SEV05-13:2401007_1:1-29-19                         -2-
                         DEFENDANT 7-ELEVEN, INC.’S PRIVILEGE LOG AS OF JANUARY 29, 2019
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 1
      Date of                     Description of Document                         Privilege Claimed
 2
      Document
 3
      March through Email chain between 7-Eleven employees Attorney-client privilege
 4
      May, 2016                   and outside counsel. All correspondences
 5
                                  include outside counsel and 7-Eleven in-
 6
                                  house counsel.
 7
 8
      March 2017                  Email chain between 7-Eleven employees Attorney-client privilege
 9
                                  and outside counsel. All correspondences
10
                                  include outside counsel and 7-Eleven in-
11
                                  house counsel.
12
13
      Late July and               Email chain between 7-Eleven’s in-house Attorney-client privilege
14
      Early August,               counsel and 7-Eleven employee Kristin
15
      2017                        Cope. All correspondence being withheld
16
                                  includes in-house counsel.
17
18
      August 2017                 Email chain between 7-Eleven employees Attorney-client privilege
19
                                  and outside counsel. All correspondences
20
                                  include outside counsel and 7-Eleven in-
21
                                  house counsel.
22
23
      December 1,                 Email chain internal to 7-Eleven initiated Attorney-client privilege
24
      2017                        at the direction of outside counsel by the 7-
25
                                  Eleven    employee     who    initiated   the
26
                                  correspondence.
27
28

     SEV05-13:2401007_1:1-29-19                         -3-
                         DEFENDANT 7-ELEVEN, INC.’S PRIVILEGE LOG AS OF JANUARY 29, 2019
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 1
      Date of                     Description of Document                         Privilege Claimed
 2
      Document
 3
      February 2018               Email is being produced with redactions of Third Party privacy
 4
                                  information on third parties.                   rights.
 5
 6
      February 9,                 Email is being produced with redactions of Third Party privacy
 7
      2018                        information on third parties.                   rights.
 8
 9
      April 2018                  Email chain between 7-Eleven employees Attorney-client privilege
10
      email                       and inhouse counsel. All correspondences
11
      correspondence in chain include 7-Eleven in-house counsel
12
                                  or note email sent is at direction of
13
                                  counsel.
14
15
      April 9, 2018               Communications between 7-Eleven, Inc.’s Attorney-client
16
                                  outside counsel and 7-Eleven employees – privilege.
17
                                  including in-house counsel for 7-Eleven.
18
19
      August 2018                 Email chain between 7-Eleven employees Attorney-client privilege
20
      email                       and inhouse counsel. All correspondences
21
      correspondence in               chain    include   7-Eleven      in-house
22
                                  counsel.
23
24 Dated: January 29, 2019                            CALL & JENSEN
                                                      A Professional Corporation
25
26
                                                      By:
27                                                          Julie R. Trotter
28                                                    Attorneys for Defendant 7-Eleven, Inc.

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                         DEFENDANT 7-ELEVEN, INC.’S PRIVILEGE LOG AS OF JANUARY 29, 2019
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 1
                               CERTIFICATE OF SERVICE
 2                              (United States District Court)
 3

 4       I am employed in the County of Orange, State of California. I am over the age of
 5 18 and not a party to the within action my business address is 610 Newport Center
   Drive, Suite 700, Newport Beach, CA 92660.
 6

 7       On January 29, 2019, I have served the foregoing document described as
   DEFENDANT 7-ELEVEN, INC.’S PRIVILEGE LOG AS OF JANUARY 29, 2019
 8 on the following person(s) in the manner(s) indicated below:

 9

10                           SEE ATTACHED SERVICE LIST
11
             BY ELECTRONIC SERVICE) I am causing the document(s) to be served on
12   the Filing User(s) through the Court’s Electronic Filing System.
13
          (BY MAIL) I am familiar with the practice of Call & Jensen for collection and
14 processing of correspondence for mailing with the United States Postal Service.
15 Correspondence so collected and processed is deposited with the United States Postal
   Service that same day in the ordinary course of business. On this date, a copy of said
16 document was placed in a sealed envelope, with postage fully prepaid, addressed as set

17 forth herein, and such envelope was placed for collection and mailing at Call & Jensen,
   Newport Beach, California, following ordinary business practices.
18
19         (BY OVERNIG T SERVICE) I am familiar with the practice of Call & Jensen
     for collection and processing of correspondence for delivery by overnight courier.
20   Correspondence so collected and processed is deposited in a box or other facility
21   regularly maintained by the overnight service provider the same day in the ordinary
     course of business. On this date, a copy of said document was placed in a sealed
22
     envelope designated by the overnight service provider with delivery fees paid or
23   provided for, addressed as set forth herein, and such envelope was placed for delivery
     by the overnight service provider at Call & Jensen, Newport Beach, California,
24
     following ordinary business practices.
25
         (BY FACSIMILE TRANSMISSION) On this date, at the time indicated on the
26
   transmittal sheet, I transmitted from a facsimile transmission machine, which telephone
27 number is (949) 717-3100, the document described above and a copy of this declaration
   to the person, and at the facsimile transmission telephone numbers, set forth herein.
28
   The above-described transmission was reported as complete and without error by a
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 1 properly issued transmission report issued by the facsimile transmission machine upon
 2 which the said transmission was made immediately following the transmission.

 3       (BY E-MAIL) I transmitted the foregoing document(s) by e-mail to the
 4 addressee(s) at the e-mail address(s) indicated.

 5

 6          (FEDERAL) I declare that I am a member of the Bar and a registered Filing User
     for this District of the United States District Court.
 7

 8         (FEDERAL) I declare that I am employed in the offices of a member of this
     Court at whose direction the service was made.
 9

10        I declare under penalty of perjury under the laws of the United States of America
   that the foregoing is true and correct, and that this Certificate is executed on January 29,
11 2019, at Newport Beach, California.

12

13

14                                                Tabitha Muncey
15

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 1                                  SERVICE LIST
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